Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 1 of 25 Page ID
                                    #:832
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 2 of 25 Page ID
                                    #:833
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 3 of 25 Page ID
                                    #:834
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 4 of 25 Page ID
                                    #:835
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 5 of 25 Page ID
                                    #:836
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 6 of 25 Page ID
                                    #:837
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 7 of 25 Page ID
                                    #:838
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 8 of 25 Page ID
                                    #:839
Case 5:23-cv-02441-SSS-SP   Document 53-1   Filed 12/27/24   Page 9 of 25 Page ID
                                    #:840
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 10 of 25 Page
                                  ID #:841
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 11 of 25 Page
                                  ID #:842
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 12 of 25 Page
                                  ID #:843
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 13 of 25 Page
                                  ID #:844
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 14 of 25 Page
                                  ID #:845
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 15 of 25 Page
                                  ID #:846
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 16 of 25 Page
                                  ID #:847
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 17 of 25 Page
                                  ID #:848
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 18 of 25 Page
                                  ID #:849
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 19 of 25 Page
                                  ID #:850
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 20 of 25 Page
                                  ID #:851
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 21 of 25 Page
                                  ID #:852
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 22 of 25 Page
                                  ID #:853
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 23 of 25 Page
                                  ID #:854
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 24 of 25 Page
                                  ID #:855
Case 5:23-cv-02441-SSS-SP   Document 53-1 Filed 12/27/24   Page 25 of 25 Page
                                  ID #:856
